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                                                                                               United States Bankruptcy Court
                                                                                                   Southern District of Texas

                                                                                                      ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                        January 07, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                      Chapter 11

KATERRA INC., et al., 1
                                                            Case No. 21-31861 (DRJ)
                      Wind-Down Debtors.

                                                            (Jointly Administered)


    REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE PURSUANT TO THE
     HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING OF EVIDENCE
               ABROAD IN CIVIL OR COMMERCIAL MATTERS

                                      LETTER OF REQUEST
                             Request for International Judicial Assistance
                        Pursuant to the Hague Convention of 18 March 1970 on
                         the Taking of Evidence in Civil Commercial Matters

                                  By the United States Bankruptcy Court
                                        Southern District of Texas
                                          Hon. David R. Jones

          TO:                The Central Authority for England & Wales
                             The Senior Master
                             For the attention of the Foreign Process
                             Section, Room E16
                             Royal Courts of Justice
                             Strand
                             London WC2A 2LL


1
     A complete list of each of the Wind-Down Debtors in these chapter 11 cases may be obtained on the website of
     the Wind-Down Debtors’ claims and noticing agent at https://cases.primeclerk.com/katerra. The Wind-Down
     Debtors’ service address in these chapter 11 cases is 3101 N. Central Ave., Ste. 670, Phoenix, AZ 85012. The
     “Wind-Down Debtors” are: Katerra Inc.; CAPGro Construction Management, LLC; Katerra Inc. (Cayman);
     AlgoSquare Inc.; Katerra Architecture LLC; Edge @ LoHi, LLC; Katerra Construction LLC; Hillsboro 1 Project
     LLC; Katerra Engineering LLC; Katerra Pearson Ranch Investment LLC, Lord, Aeck & Sargent, Inc.; Katerra
     Pegasus RiNo Investment, LLC; Hillsboro 1 Project MM LLC; Katerra XSC Houston Investment LLC; Katerra
     RO2 Knipe Village Investment LLC; Apollo Technologies, Inc.; Hillsboro 2 Project LLC; Kirkland 1 Project
     LLC; Kirkland 1 Project MM LLC; Hillsboro 2 Project MM LLC; Bristlecone 28th Ave, LLC; Perimeter Building
     Services LLC; Kirkland 2 Project LLC; Bristlecone Residential, LLC; Katerra Affordable Housing, LLC;
     Construction Assurance Ltd.; Roots Software, LLC; Kirkland 2 Project MM LLC; Dangoo Electronics (USA)
     Co. Ltd.; Skyview Concrete LLC; UEB Builders, Inc.; Valpico Glenbriar Apartments LLC; and WM Aviation,
     LLC.
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                         United Kingdom

        FROM:            The Honorable David R. Jones
                         c/o Albert Alonzo, Case Manager
                         United States Bankruptcy Court for the Southern District of Texas
                         Bob Casey United States Courthouse
                         515 Rusk Avenue, Courtroom 400
                         Houston, Texas, USA 77002
                         Telephone: +1 (713) 250-5467
                         albert_alonzo@txs.uscourts.gov

       The United States Bankruptcy Court for the Southern District of Texas presents its

compliments to the judicial authority of the United Kingdom of Great Britain and Northern Ireland

(the “United Kingdom”), or other office as is appropriate, and requests international judicial

assistance to obtain documents from each of Greensill Capital (UK) Limited (“GCUK”), GCUK’s

administrators (Christine M. Laverty, Trevor P. O’Sullivan, and Will Stagg of Grant Thornton UK

LLP), Saffery Champness LLP (“Saffery Champness”), Alexander David Greensill, Jonathan

Edward Myott Lane, and Alastair Kenneth Eadie concerning the specific subject matters set forth

in Schedules A to F, respectively, to this Letter. GCUK is the claimant Greensill Limited’s direct

corporate parent, and is now in administration proceedings in the United Kingdom. Saffery

Champness is (or was) Greensill Limited’s auditor. And Mr. Greensill, Mr. Lane, and Mr. Eadie

are former directors and officers, and principal decisionmakers, of Greensill Limited. The Wind-

Down Debtors have represented to the Court that GCUK, GCUK’s administrators, Saffery

Champness, Mr. Greensill, Mr. Lane, and Mr. Eadie have, or are likely to have, important

documents in their possession.

       This request is made pursuant to the Hague Convention of 18 March 1970 on the Taking

of Evidence Abroad in Civil or Commercial Matters, as adopted and implemented in the United

States of America at 28 U.S.C. § 1781. The United States Bankruptcy Court for the Southern

District of Texas is a competent court of law and equity that properly has jurisdiction over these



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proceedings, and has the power to compel the attendance of witnesses and production of

documents, both within and outside its jurisdiction.

        The production of documents by GCUK, GCUK’s administrators, Saffery Champness,

Mr. Greensill, Mr. Lane, and Mr. Eadie is intended for use at trial, and the defendant Wind-Down

Debtors have represented to the Court that such documents will be highly relevant to the claims

and defenses in the case, influencing the final resolution of Greensill Limited’s $440 million in

claims against them. 2 This includes Greensill Limited’s transaction at an undervalue claim under

s. 238 of the Insolvency Act 1986, which is based on a December 30, 2020 Contribution and

Exchange Agreement between Greensill Limited (which Mr. Lane executed on Greensill Limited’s

behalf) and certain of the defendant Wind-Down Debtors.

        This request is made with the understanding that it will in no way require any person to

commit any offense, or to undergo a broader form of inquiry than he or she would be subject if the

litigation were conducted in the United Kingdom. Further, this Court defers to the judicial

authority of the United Kingdom, or other office as is appropriate, as to whether the specific

requests set forth below or in Schedules A to F comply with applicable law or practice or whether

any or all should be limited or precluded.




2
    The Court notes that claimant Greensill Limited does not agree with certain of the Wind-Down Debtors’
    representations. The Wind-Down Debtors have acknowledged that Greensill Limited has reserved all rights to
    object to the relevance and admissibility of any information that may be obtained as a result of this Letter of
    Request.


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                                Letter of Request

1.     Sender

The Honorable David R. Jones
United States Bankruptcy Court for the Southern District of Texas
Bob Casey United States Courthouse
515 Rusk Avenue, Courtroom 400
Houston, Texas, USA 77002

2.     Central Authority of the Requested State

The Senior Master
For the attention of the Foreign Process
Section, Room E16
Royal Courts of Justice
Strand
LONDON WC2A 2LL
United Kingdom

3.     Person to Whom the Executed Request is to be Returned

Defendants’ Legal Representative:
Richard Boynton
KIRKLAND & ELLIS INTERNATIONAL LLP
30 St Mary Axe
London EC3A 8AF

For onward transmission to:
Gabor Balassa, P.C.
Ravi Subramanian Shankar
KIRKLAND & ELLIS LLP
300 North LaSalle Street
Chicago, IL, USA 60654
Telephone:    +1 (312) 862-2000

On behalf of:
United States Bankruptcy Court for the Southern District of Texas
Bob Casey United States Courthouse
515 Rusk Avenue, Courtroom 400
Houston, Texas, USA 77002




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       4.      Specification of Date by which the Requesting Authority Requires Receipt of
               the Response to the Letter of Request

       The applicant requests a response at the earliest convenience, and in any event within

28 days of this request being received.

       The Wind-Down Debtors have requested documents within that 28-day timeframe to have

sufficient time to review them, conduct further discovery based on the documents received as a

result of this Letter of Request, and meet the deadlines set by this Court, including a May 13, 2022

deadline for the issuance of expert reports and a June 27, 2022 deadline for the close of all

discovery. Trial is scheduled to begin on July 18, 2022.

       5.      In Conformity with Article 3 of the Convention, the Undersigned Applicant
               has the Honor to Submit the Following Request:

               a.      Requesting Judicial Authority

       The Honorable David R. Jones
       United States Bankruptcy Court for the Southern District of Texas
       Bob Casey United States Courthouse
       515 Rusk Avenue, Courtroom 400
       Houston, Texas, USA 77002

               b.      To the Competent Authority of:

       The United Kingdom

               c.      Name of the Cases and any Identifying Numbers

       In re Katerra, Inc., Case No. 21-31861 (Bankr. S.D. Tex.) (DRJ)

       6.      Names and Addresses of the Parties and Their Representatives

               a.      Claimants

       Greensill Limited (in Liquidation)




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       b.      Claimant’s Representatives

The representatives of Greensill Limited are:

Lenard M. Parkins PLLC
PARKINS LEE & RUBIO LLP
700 Milam Street, Suite 1300
Houston, TX, USA 77002
Telephone:   +1 (713) 715-1660
lparkins@parkinslee.com

Ryan C. Wooten
ORRICK, HERRINGTON & SUTCLIFFE LLP
609 Main Street, 40th Floor
Houston, TX, USA 77002
Telephone:    +1 (713) 658-6400
katerranotice@orrick.com

       c.      Defendants

The Wind-Down Debtors (a complete list of the Wind-Down Debtors is included at
footnote 1)

       d.      Defendants’ Representatives

The representatives of all of the Wind-Down Debtors are:

Gabor Balassa, P.C.
Ravi Subramanian Shankar
KIRKLAND & ELLIS LLP
300 North LaSalle Street
Chicago, IL, USA 60654
Telephone:    +1 (312) 862-2000
gabor.balassa@kirkland.com
ravi.shankar@kirkland.com

Martin R. Martos II
FOX ROTHSCHILD LLP
321 North Clark Street, Suite 1600
Chicago, IL, USA 60654
Telephone:    +1 (312) 517-9291
mmartos@foxrothschild.com




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       Jack C. Praetzellis
       FOX ROTHSCHILD LLP
       345 California Street, Suite 2200
       San Francisco, CA, USA 94104
       Telephone:     +1 (415) 651-1424
       jpraetzellis@foxrothschild.com

               e.      Other Parties

       None

       7.       The Proceedings

               a.      Nature and Purpose of the Proceedings

       The claimant Greensill Limited seeks to unwind a commercial transaction, including a

December 30, 2020 Contribution and Exchange Agreement, pursuant to s. 238 of the Insolvency

Act 1986 (transaction at an undervalue). According to the Wind-Down Debtors, Greensill Limited

is seeking such a remedy despite it and its corporate parents having received full value in the

transaction.

       The Wind-Down Debtors have represented that the documents being requested are relevant

to at least the following legal and factual issues in this case: (i) whether Greensill Limited acted in

good faith in entering into the Contribution and Exchange Agreement, (ii) the intended and actual

use of the consideration the Greensill companies received in connection with Greensill Limited

entering into that Agreement, (iii) Greensill Limited’s solvency on or about December 30, 2020;

(iv) the benefits that Greensill Limited received and obligations that it incurred under separate

agreements that Greensill Limited’s parent companies entered into related to the Contribution and

Exchange Agreement, (v) whether GCUK had to indemnify Greensill Limited for any liabilities

or losses it incurred from entering into the Contribution and Exchange Agreement, and (vi) the

value of the consideration the various Greensill companies gave and received in connection with

the Contribution and Exchange Agreement.



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               b.       Summary of the Facts

       The nature of the proceedings for which evidence is sought are $440 million claims filed

by Greensill Limited, a company incorporated in England and Wales that is now in liquidation,

against the Wind-Down Debtors. Greensill Limited’s claims arise from the termination of a

December 9, 2019 Receivables Purchase Agreement between Greensill Limited and six of the

Wind-Down Debtors. The Receivables Purchase Agreement was a factoring arrangement whereby

Greensill Limited purchased existing and future accounts receivable from the Wind-Down Debtors

at a discount to their face value, with the expectation of later collecting the full payments on those

receivables, earning a margin.

       On December 30, 2020, the Wind-Down Debtors’ ultimate corporate parent, Katerra Inc.

(“Katerra Cayman”), executed an out-of-court capital-raise transaction led by its existing investors,

SVF Abode (Cayman) Ltd. and SVF Habitat (Cayman) Ltd. (together with its affiliates, the

“SoftBank Entities”).

       On the same date and as part of the Wind-Down Debtors’ out-of-court recapitalization,

Greensill Limited and certain of the Wind-Down Debtors executed a Contribution and Exchange

Agreement to terminate the Receivables Purchase Agreement.             As part of the termination,

Greensill Limited contributed, transferred, assigned, and delivered whatever claims, if any,

“derived from, based upon, or secured by” the Receivables Purchase Agreement to Katerra

Cayman, and agreed that all of Katerra’s Receivables Purchase Agreement obligations were

“released, discharged, and terminated.”

       In exchange, Katerra Cayman agreed to issue 762,144 shares of its Series A preferred stock

(about 5% of its post-recapitalization equity) to Greensill Limited. Greensill Limited then was

obligated to convey those shares to the SoftBank Entities, which it did on December 30, 2020.




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               c.      Summary of Greensill Limited’s Claims

       Greensill Limited alleges that these transactions constitute a transaction at an undervalue

under s. 238 of the Insolvency Act 1986. Greensill Limited asserts that it received no meaningful

consideration as a result of terminating the Receivables Purchase Agreement, but incurred actual

or potential liabilities to noteholders with the ultimate economic interest in that Agreement.

Greensill Limited alleges that those liabilities rendered it insolvent, to the extent it was not already

insolvent.

       Greensill Limited also has asserted claims for (i) pursuit of funds held in constructive trust;

(ii) transaction defrauding creditors; (iii) knowing receipt; (iv) dishonest assistance, conspiracy,

conspiracy to commit fraud and aiding and abetting; and (v) breach of contract.

               d.      Summary of the Wind-Down Debtors’ Defence

       The Wind-Down Debtors deny Greensill Limited’s allegations. Among other defenses, the

Wind-Down Debtors assert that Greensill Limited and its corporate parents already received a full

recovery on the Receivables Purchase Agreement and that Greensill Limited acted in good faith

when it entered into the Contribution and Exchange Agreement. Specifically, Greensill Limited’s

direct corporate parent, GCUK, received $440 million in November 2020, which funds were

intended to be used to assume any losses on notes issued pursuant to the Receivables Purchase

Agreement. In exchange, GCUK and its corporate parent, on behalf of themselves and their

affiliates and subsidiaries, including Greensill Limited, transferred their economic interest in the

Receivables Purchase Agreement to the SoftBank Entities. Further, GCUK promised to indemnify

Greensill Limited for any losses it incurred “under or in connection with the Transaction

Documents,” including the Receivables Purchase Agreement.




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       8.      Evidence

               a.      Evidence to be Obtained or Other Judicial Act to be Performed

       This Court requests the Appropriate Judicial Authority of the United Kingdom to compel

each of GCUK, GCUK’s administrators, Saffery Champness, Mr. Greensill, Mr. Lane, and Mr.

Eadie to produce to the Wind-Down Debtors documents responsive to the requests for production

in Schedules A to F to this Letter of Request, to the extent that they are in the possession, control,

or power of GCUK, GCUK’s administrators, Saffery Champness, Mr. Greensill, Mr. Lane, and

Mr. Eadie, respectively; are not privileged under the applicable laws of the United Kingdom or the

United States; and would not impose a burden greater than either would be subject if the litigation

were conducted in the United Kingdom. As set forth above, this Court defers to the judicial

authority of the United Kingdom, or other office as is appropriate, as to whether the specific

requests in Schedules A to F comply with applicable law or practice or whether any or all should

be limited or precluded.

               b.      Purpose of the Evidence or Judicial Act Sought

       The Wind-Down Debtors have represented to this Court that the purpose of this request is

to obtain evidence which is to be used at the trial which is scheduled to begin on July 18, 2022,

that the evidence would be likely to be relevant to issues in the proceedings (as explained in the

following paragraphs), and that the evidence would be likely to be admissible at the trial.

Specifically, the Wind-Down Debtors have represented that (i) GCUK’s, GCUK’s administrators,

Saffery Champness’, Mr. Greensill’s, Mr. Lane’s, and Mr. Eadie’s documents are highly relevant

to a number of their defenses; and (ii) they do not expect that Greensill Limited will have access

to most of the materials sought here.

       With respect to GCUK and its administrators, the Wind-Down Debtors have represented

that GCUK and its administrators likely will have documents (i) concerning the intended and


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actual use of the $440 million it received from the SoftBank Entities; (ii) concerning whether

Greensill Limited had a contractual obligation to transfer any recoveries on the Receivables

Purchase Agreement to the SoftBank Entities; (iii) concerning its indemnification obligations to

Greensill Limited under their Participation Agreement; (iv) concerning its financial ability to

honor those indemnification obligations; and (v) memorializing any direction from GCUK to

Greensill Limited to enter into the Contribution and Exchange Agreement. The Wind-Down

Debtors have represented that these documents will be relevant at least to whether Greensill

Limited’s directors and officers acted in good faith in entering into the Contribution and Exchange

Agreement; and whether, on balance, Greensill Limited gave up anything of material value when

it entered into the Contribution and Exchange Agreement, such as because GCUK had the

contractual obligation and financial ability to fully indemnify Greensill Limited for any liabilities

Greensill Limited incurred as a result of entering into that Agreement.

       With respect to Saffery Champness, the Wind-Down Debtors have represented that Saffery

Champness was (or is) GCUK’s and Greensill Limited’s auditor and likely will have documents

concerning their financial condition, including their solvency or ability to continue as a going

concern; and their evaluation of any liabilities arising out of the Contribution and Exchange

Agreement. The Wind-Down Debtors have represented that these documents will be relevant to

whether the Contribution and Exchange Agreement rendered Greensill Limited insolvent, one of

the elements of a transaction at an undervalue claim; and Greensill Limited’s and its auditor’s

understanding (or not) that the $440 million GCUK received in November 2020 was intended to

be used to assume any losses or liabilities on notes issued pursuant to the Receivables Purchase

Agreement.




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        With respect to Mr. Greensill, Mr. Lane, and Mr. Eadie, the Wind-Down Debtors have

represented that these individuals are former directors or officers of Greensill Limited and/or

GCUK, were principal decision makers at Greensill Limited and/or GCUK, and negotiated,

structured, and/or approved the various transactions being challenged by Greensill Limited. The

Wind-Down Debtors have represented that these individuals are likely to have documents in their

possession relevant to each of the above issues.

        For at least the above reasons, the Wind-Down Debtors have represented that they

anticipate that the requested evidence will be highly relevant to their defenses and would be relied

upon by those parties at trial.

        9.      Identity and Address of Any Person(s) to be Examined

        None, only documents are being sought.

        10.     Questions to be Put to the Persons to be Examined or Statement of the Subject-
                Matter about which They are to be Examined

        None, only documents are being sought.

        11.     Documents or Other Property to be Inspected

        Attached as Schedules A to F is a list documents the Wind-Down Debtors have requested

that GCUK, GCUK’s administrators, Saffery Champness, Mr. Greensill, Mr. Lane, and Mr. Eadie

produce, respectively.

        12.     Any Requirement that the Evidence Be Given on Oath or Affirmation and Any
                Specific Form to Be Used

        Oath or affirmation, no specific form is to be used.

        13.     Special Methods or Procedures to be Followed

        To the extent permitted by the applicable laws of the United Kingdom and/or any rights or

objections asserted by GCUK, GCUK’s administrators, Saffery Champness, Mr. Greensill,

Mr. Lane, or Mr. Eadie, this Court respectfully requests that the Appropriate Judicial Authority of


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the United Kingdom require that the documentary evidence requested in Schedules A to F be

produced or provided for inspection and copying not later than 28 days after service.

       14.     Request for Notification of the Time and Place for the Execution of the Request
               and Identity and Address of any Person to be Notified

       Please notify counsel regarding the time and place for the execution of the Request:

       Gabor Balassa, P.C.
       Ravi Subramanian Shankar
       KIRKLAND & ELLIS LLP
       300 North LaSalle Street
       Chicago, IL, USA 60654
       Telephone:    +1 (312) 862-2000
       gabor.balassa@kirkland.com
       ravi.shankar@kirkland.com

       Martin R. Martos II
       FOX ROTHSCHILD LLP
       321 North Clark Street, Suite 1600
       Chicago, IL, USA 60654
       Telephone:    +1 (312) 517-9291
       mmartos@foxrothschild.com

       Jack C. Praetzellis
       FOX ROTHSCHILD LLP
       345 California Street, Suite 2200
       San Francisco, CA, USA 94104
       Telephone:     +1 (415) 651-1424
       jpraetzellis@foxrothschild.com

       Lenard M. Parkins PLLC
       PARKINS LEE & RUBIO LLP
       700 Milam Street, Suite 1300
       Houston, TX, USA 77002
       Telephone:   +1 (713) 715-1660
       lparkins@parkinslee.com

       Ryan C. Wooten
       ORRICK, HERRINGTON & SUTCLIFFE LLP
       609 Main Street, 40th Floor
       Houston, TX, USA 77002
       Telephone:    +1 (713) 658-6400
       katerranotice@orrick.com




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       15.     Request for Attendance or Participation of Judicial Personnel of the
               Requesting Authority at the Execution of the Letter of Request

       No attendance of judicial personnel is requested.

       16.     Specification or Privilege or Duty to Refuse to Give Evidence under the Law
               of the State of Origin

       In addition to the privileges applicable under the laws of the United Kingdom, the Court

understands that, under the laws of the United States, each of GCUK, GCUK’s administrators,

Saffery Champness, Mr. Greensill, Mr. Lane, and Mr. Eadie may refuse to produce a document if

such document would disclose a confidential communication between him and his attorney(s) in

connection with seeking legal advice.

       The Court also understands the confidential nature of the documents requested from each

of GCUK, GCUK’s administrators, Saffery Champness, Mr. Greensill, Mr. Lane, and Mr. Eadie,

and there is a Stipulated Confidentiality Agreement and Protective Order (the “Protective Order”)

in this case to protect the confidentiality of any documents they produce. The Protective Order is

Addendum A to this Letter of Request.

       This Court stands ready to extend similar assistance to the judicial tribunals of the United

Kingdom. To the extent that there are expenses associated with providing assistance in response

to this Letter of Request, this Court will see that the Appropriate Judicial Authority of the United

Kingdom is reimbursed by the Wind-Down Debtors.

       17.     The Fees and Costs Incurred, Which Are Reimbursable under the Second
               Paragraph of Article 14 or under Article 26 of the Convention, Will Be Borne
               by:

       The fees and costs incurred which are reimbursable under the second paragraph of Article

14 or under Article 26 of the Convention will be borne, jointly and severally, by the Wind-Down

Debtors.




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                                             Conclusion

         In the spirit of comity and reciprocity, and deferring to the judicial authority of the United

Kingdom, or other office as is appropriate, as to whether any or all of the specific requests set forth

here or in Schedules A to F comply with applicable law or practice or whether any or all should

be limited or precluded, this Court hereby requests international judicial assistance in the form of

this Letter of Request to obtain from each of Greensill Capital (UK) Limited; Christine M. Laverty,

Trevor P. O’Sullivan, and Will Stagg of Grant Thornton UK LLP, in their capacity as Greensill

Capital (UK) Limited’s administrators; Saffery Champness LLP; Alexander David Greensill;

Jonathan Edward Myott Lane; and Alastair Kenneth Eadie the production of documents responsive

to the requests set forth in Schedules A to F, respectively. This Court expresses its sincere

willingness to provide similar assistance to the judicial tribunals of the United Kingdom if future

circumstances should require.



Signature and Seal of the Requesting Authority:

DATED: December _____, 2021
  Signed: January 05, 2022.

                                                   ____________________________________
                                                      By:
                                                   DAVID R. JONES
                                                      Hon. David R. Jones
                                                   UNITED STATES BANKRUPTCY JUDGE
                                                      Chief United States Bankruptcy Court Judge


                                , Clerk of Court

    by



    Deputy Clerk



    Seal


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                                         SCHEDULE A

     REQUESTS FOR PRODUCTION TO GREENSILL CAPITAL (UK) LIMITED

       1.      All of Greensill Parent’s and GCUK’s board minutes, resolutions, and decisions

from January 1, 2019 to March 8, 2021 concerning: (i) the Receivables Arrangement, (ii) the

Participation Agreement, (iii) the SoftBank Agreements, (iv) the Katerra Agreements, (v) the

Fairymead Notes, and/or (vi) the Wind-Down Debtors.

       2.      All Documents shared with or presented to Greensill Parent’s or GCUK’s board of

directors from January 1, 2019 to March 8, 2021 concerning: (i) the Receivables Arrangement,

(ii) the Participation Agreement, (iii) the SoftBank Agreements, (iv) the Katerra Agreements, (v)

the Fairymead Notes, and/or (vi) the Wind-Down Debtors.

       3.      All (i) Documents prepared for or presented at, (ii) minutes of, (iii) resolutions and

decisions from, and (iv) communications by Greensill Parent’s directors concerning Greensill

Parent’s December 4, 2020 board of directors meeting.

       4.      Any memoranda, presentations, or analysis between August 1, 2020 and March 8,

2021 concerning the Greensill Entities’ and their representatives’:

               a.     deliberations about, and evaluation whether to enter into, the Katerra
                      Agreements;

               b.     valuation or other analysis of the consideration Greensill Limited gave and
                      received under the Katerra Agreements;

               c.     evaluation whether entering into the Katerra Agreements would cause, or
                      did cause, Greensill Limited to incur actual or potential liabilities; and

               d.     rationale and reasons for entering into the Katerra Agreements.

       5.      Alexander David Greensill’s communications between August 1, 2020 and March

8, 2021 about topics (a)-(d) in Request No. 4.




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       6.      Jonathan Lane’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(d) in Request No. 4.

       7.      Sean Hanafin’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(d) in Request No. 4.

       8.      Neil Garrod’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(d) in Request No. 4.

       9.      Any communications between August 1, 2020 and March 8, 2021 from Greensill

Parent or GCUK, on the one hand, to Greensill Limited, on the other hand, directing Greensill

Limited to enter into the Katerra Agreements, or otherwise concerning Greensill Limited’s entry

into the Katerra Agreements.

       10.     Any memoranda, presentations, or other documents between August 1, 2020 and

March 8, 2021 recording the Greensill Entities’ and their representatives’:

               a.      deliberations about, and evaluation whether to enter into, the SoftBank
                       Agreements;

               b.      valuation or other analysis of the consideration each of the Greensill Entities
                       gave and received under the SoftBank Agreements; and

               c.      rationale and reasons for entering into the SoftBank Agreements.

       11.     Alexander David Greensill’s communications between August 1, 2020 and March

8, 2021 about topics (a)-(c) in Request No. 10.

       12.     Jonathan Lane’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(c) in Request No. 10.

       13.     Sean Hanafin’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(c) in Request No. 10.

       14.     Neil Garrod’s communications between August 1, 2020 and March 8, 2021 about

topics (a)-(c) in Request No. 10.


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       15.    Any memoranda, presentations, or other Documents, which were shared with or

presented to Greensill Parent’s or GCUK’s management between August 1, 2020 and March 8,

2021, concerning Greensill Parent’s and/or GCUK’s obligations or responsibilities under Recitals

§§ (C) and (D) and section 2.4 of the November 2020 Omnibus Deed.

       16.    Any memoranda, presentations, or other Documents, which were shared with or

presented to Greensill Parent’s or GCUK’s management between August 1, 2020 and March 8,

2021, concerning the Greensill Entities’ obligations under either (i) section 3 of the November

2020 Omnibus Deed (entitled “Katerra Programme Recoveries”) or (ii) section 3 of Schedule 1 to

the December 2020 Omnibus Deed (entitled “Katerra Programme Recoveries”).

       17.    Any Documents created between August 1, 2020 and March 8, 2021 for the

purposes of giving effect to or memorializing any agreement by Greensill Limited to be bound by

either (i) section 3 of the November 2020 Omnibus Deed (entitled “Katerra Programme

Recoveries”) or (ii) section 3 of Schedule 1 to the December 2020 Omnibus Deed (entitled

“Katerra Programme Recoveries”).

       18.    Greensill Parent’s, GCUK’s, and Greensill Limited’s credit files for the

Receivables Arrangement.

       19.    To the extent Greensill Parent, GCUK, and/or Greensill Limited did not maintain a

credit file in response to Request No. 18, any credit-risk analysis or reports on the Receivables

Arrangement, including of the value of the receivables thereunder as of December 30, 2020.

       20.    Any Documents presented to the Greensill Entities’ credit committee (or its

equivalent) concerning the Receivables Arrangement.

       21.    Any memoranda, presentations, or other Documents created between January 1,

2020 and March 8, 2021 concerning the expected amounts payable by GCUK or its affiliates




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pursuant to the CDS Greensill First Loss 2020 – 2021, referenced at section 1.1(a) in the November

2020 Omnibus Deed.

       22.     Ledgers and bank statements showing (i) the Greensill Entities’ receipt of $440

million pursuant to the Convertible Note and (ii) the transfer or use of those funds from on or after

November 10, 2020.

       23.     Documents created between August 1, 2020 and March 8, 2021 recording GCUK

and its affiliates’ decision to use or contribute the $440 million received pursuant to the

Convertible Note towards Greensill Bank and/or to fund the Greensill Entities’ overall operations.

       24.     Documents created between August 1, 2020 and March 8, 2021 recording GCUK

and its affiliates’ decision not to apply the $440 million received pursuant to the Convertible Note

towards the Fairymead Notes.

       25.     The February 2020 deposit agreement between GCUK and Greensill Parent, and

any other agreements between GCUK and Greensill Parent concerning GCUK’s receipt of $440

million from the Convertible Note.

       26.     Any demands, claims, or assertions of indemnification rights by Greensill Limited

against GCUK since August 1, 2020.

       27.     Any evaluation or assessment since August 1, 2020 of any potential obligation by

GCUK to indemnify Greensill Limited.

       28.     All of Greensill Parent’s and GCUK’s (i) annual and interim audited and unaudited

financial statements and (ii) annual reports, each since October 1, 2019.

       29.     Any analysis of the value of Greensill Parent’s shares as of either November 10,

2020 or December 23, 2020.




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        30.     Any analysis conducted in GCUK’s administration proceedings of when and how

GCUK become insolvent, including whether GCUK was insolvent as of December 30, 2020.

        31.     Claims filed in GCUK’s administration proceedings by (i) other Greensill Entities,

(ii) SBG or its affiliates, (iii) Citibank, or (iv) Credit Suisse Asset Management.

        32.     Any questionnaires and notes from any interviews that GCUK’s administrators or

their representatives conducted since March 8, 2021 (i) of Alexander David Greensill, Jonathan

Edward Myott Lane, representatives of the Wind-Down Debtors, or representatives of SBG or its

affiliates, or (ii) concerning the Katerra Agreements or the SoftBank Agreements.

        33.     Communications since July 30, 2021 with Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP) or their representatives concerning

claims by, or liabilities of, Greensill Limited, GCUK, and/or Greensill Parent relating to the

Contribution Agreement.

                                            DEFINITIONS

        1.      “Citibank” means Citibank N.A., London Branch, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        2.      “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

        3.      “Convertible Note” means the Instrument Constituting US$440,000,000.00 of

Unsecured Convertible Loan Notes of Greensill Capital Pty Limited dated November 10, 2020.

        4.      “Credit Suisse Asset Management” means Credit Suisse Asset Management

(Schweiz) AG, and any and all agents, employees, representatives, consultants, attorneys,

predecessors, successors, and/or any Person or entity that acts, or purports to act, on its behalf.




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        5.      “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        6.      “Documents” means anything in which information of any description is recorded

including without limitation e-mails, paper files, text. and any other types of electronic messages

including WhatsApp and other messaging platforms.

        7.      “Fairymead Notes” means the notes backed by the interests assigned to Hoffman

S.à.r.l. under the the Master Assignment Agreement pursuant to a First Series Supplement, dated

December 18, 2019, to a Master Trust Deed, dated October 13, 2017.

        8.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Greensill Bank” means Greensill Bank AG, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        10.     “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        11.     “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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        12.     “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        13.     “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        14.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        15.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        16.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        17.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        18.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        19.     “Participation Agreement” means the Participation Agreement dated December 19,

2019 between GCUK and Greensill Limited.

        20.     “Receivables Arrangement” means the Receivables Purchase Agreement dated

December 9, 2019 among Greensill Limited, Katerra Delaware, and others.




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        21.     “SBG” means SoftBank Group Corporation, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        22.     “SoftBank Agreements” means, collectively, the Convertible Notes and the

Omnibus Deeds.

        23.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

        24.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

        25.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                                          SCHEDULE B

                       REQUESTS FOR PRODUCTION TO
              GREENSILL CAPITAL (UK) LIMITED’S ADMINISTRATORS

       1.      Any demands, claims, or assertions of indemnification rights by Greensill Limited

against GCUK since March 8, 2021.

       2.      Any evaluation or assessment since March 8, 2021 of any potential obligation by

GCUK to indemnify Greensill Limited.

       3.      Any analysis created since March 8, 2021 of the value of Greensill Parent’s shares

as of either November 10, 2020 or December 23, 2020.

       4.      Any analysis conducted in GCUK’s administration proceedings of when and how

GCUK become insolvent, including whether GCUK was insolvent as of December 30, 2020.

       5.      Claims filed in GCUK’s administration proceedings by (i) other Greensill Entities,

(ii) SBG or its affiliates, (iii) Citibank, or (iv) Credit Suisse Asset Management.

       6.      Any questionnaires and notes from any interviews that GCUK’s administrators or

their representatives conducted since March 8, 2021 (i) of Alexander David Greensill, Jonathan

Edward Myott Lane, representatives of the Wind-Down Debtors, or representatives of SBG or its

affiliates, or (ii) concerning the Katerra Agreements or the SoftBank Agreements.

       7.      Communications since July 30, 2021 with Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP) or their representatives concerning

claims by, or liabilities of, Greensill Limited, GCUK, or Greensill Parent relating to the

Contribution Agreement.




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                                            DEFINITIONS

        1.      “Citibank” means Citibank N.A., London Branch, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        2.      “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

        3.      “Credit Suisse Asset Management” means Credit Suisse Asset Management

(Schweiz) AG, and any and all agents, employees, representatives, consultants, attorneys,

predecessors, successors, and/or any Person or entity that acts, or purports to act, on its behalf.

        4.      “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        5.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        6.      “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        7.      “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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        8.      “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        10.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        11.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        12.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        13.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        14.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        15.     “Receivables Arrangement” means the Receivables Purchase Agreement dated

December 9, 2019 among Greensill Limited, Katerra Delaware, and others.

        16.     “SBG” means SoftBank Group Corporation, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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       17.     “SoftBank Agreements” means, collectively, the Convertible Notes and the

Omnibus Deeds.

       18.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

       19.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

       20.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                                           SCHEDULE C

              REQUESTS FOR PRODUCTION TO SAFFERY CHAMPNESS LLP

         1.     Greensill Parent’s, GCUK’s, and Greensill Limited’s audited and unaudited

financial statements since January 1, 2019, to the extent not publicly available through Companies

House.

         2.     All of Your auditor’s reports of Greensill Parent, GCUK, and Greensill Limited

since January 1, 2019.

         3.     All of Your audit work papers for Greensill Limited since January 1, 2019

concerning:

                a.       any change in Greensill Limited’s assets or liabilities, revenues or expenses,
                         or cash flows, resulting from Greensill Parent and GCUK entering into the
                         Convertible Note and the Omnibus Deeds;

                b.       any change in assets or liabilities, revenues or expenses, or cash flows,
                         resulting from Greensill Limited entering into the Katerra Agreements;

                c.       Greensill Limited’s contribution, transfer, and assignment of the Greensill
                         Indebtedness to Katerra Cayman; and

                d.       Greensill Limited’s solvency or ability to continue as a going concern since
                         January 1, 2019.

         4.     All of Your audit work papers for GCUK since January 1, 2019 concerning:

                a.       Greensill Parent’s obligations or responsibilities under Recitals §§ (C) and
                         (D) and section 2.4 of the November 2020 Omnibus Deed;

                b.       GCUK’s or Greensill Limited’s obligations under section 3 of the
                         November 2020 Omnibus Deed (entitled “Katerra Programme
                         Recoveries”);

                c.       GCUK’s or Greensill Limited’s obligations under section 3 of Schedule 1
                         to the December 2020 Omnibus Deed (entitled “Katerra Programme
                         Recoveries”);

                d.       Greensill Limited’s contribution, transfer, and assignment of the Greensill
                         Indebtedness to Katerra Cayman;

                e.       the $440 million received pursuant to the Convertible Note; and


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                f.      GCUK’s solvency or ability to continue as a going concern.

        5.      All journal entries, ledgers, notes, and memoranda that Greensill Limited and

GCUK provided to You about topics (a)-(d) in Request No. 3 and topics (a)-(f) in Request No. 4,

respectively.

        6.      Any communications between August 1, 2020 and March 8, 2021 with the

Greensill Entities or their representatives concerning topics (a)-(d) in Request No. 3 and topics (a)-

(f) in Request No. 4.

        7.      Any communications with Greensill Limited’s Liquidators (Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP) or their representatives since July 30, 2021 concerning

either (i) topics (a)-(d) in Request No. 3 and topics (a)-(f) in Request No. 4, or (ii) the Liquidators’

claims against the Wind-Down Debtors.

                                            DEFINITIONS

        1.      “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

        2.      “Convertible Note” means the Instrument Constituting US$440,000,000.00 of

Unsecured Convertible Loan Notes of Greensill Capital Pty Limited dated November 10, 2020.

        3.      “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        4.      “Documents” means anything in which information of any description is recorded

including without limitation e-mails, paper files, text and any other types of electronic messages

including WhatsApp and other messaging platforms.

        5.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.


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        6.      “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        7.      “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        8.      “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        10.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        11.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        12.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        13.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.




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        14.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        15.     “Saffery Champness” means Saffery Champness LLP, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        16.     “SoftBank Agreements” means, collectively, the Convertible Note and the

Omnibus Deeds.

        17.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

        18.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

        19.     “You” or “Your” means Saffery Champness.

        20.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                                        SCHEDULE D

       REQUESTS FOR PRODUCTION TO ALEXANDER DAVID GREENSILL

       1.     Documents created between August 1, 2020 and March 8, 2021 concerning:

              a.      deliberations about, and evaluation whether to enter into, the Katerra
                      Agreements;

              b.      valuations or other analyses of the consideration Greensill Limited gave and
                      received under the Katerra Agreements;

              c.      evaluations whether entering into the Katerra Agreements would cause, or
                      did cause, Greensill Limited to incur actual or potential liabilities;

              d.      the rationale and reasons for entering into the Katerra Agreements;

              e.      deliberations about, and evaluation whether to enter into, the SoftBank
                      Agreements;

              f.      valuations or other analyses of the consideration each of the Greensill
                      Entities gave and received under the SoftBank Agreements; and

              g.      the rationale and reasons for entering into the SoftBank Agreements.

       2.     Your communications, including personal emails and electronic messages, between

August 1, 2020 and June 6, 2021 with the Wind-Down Debtors or their representatives concerning

the negotiation of the Katerra Agreements and/or the SoftBank Agreements.

       3.     Documents recording Your expectations or understanding on or before December

30, 2020 concerning the intended use of the $440 million that Greensill Parent and/or GCUK

received pursuant to the Convertible Note.

       4.     Your communications between August 1, 2020 and March 8, 2021 with the

Greensill Entities’ directors and management concerning the use of the $440 million received

pursuant to the Convertible Note.




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       5.      Any communications since August 1, 2020 between You and Credit Suisse

Assessment Management or its representatives, Citibank of its representatives, or any holder of

the Fairymead Notes or its representatives concerning the failure to pay the Fairymead Notes.

       6.      Any communications since March 8, 2021 with (i) Greensill Parent’s liquidators

(Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant Thornton

Australia Ltd.) or their representatives, (ii) GCUK’s administrators (Christine M. Laverty, Trevor

P. O’Sullivan, and Will Stagg of Grant Thornton UK LLP) or their representatives, or

(iii) Greensill Limited’s Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK

LLP) or their representatives concerning the Receivables Arrangement, the Contribution

Agreement, the Transfer Agreement, or the Fairymead Notes, including the claims Greensill

Limited’s Liquidators have asserted against the Wind-Down Debtors.

       7.      Any communications since March 8, 2021 about claims by (i) Greensill Parent’s

liquidators (Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant

Thornton Australia Ltd.), (ii) GCUK’s administrators (Christine M. Laverty, Trevor P. O’Sullivan,

and Will Stagg of Grant Thornton UK LLP), or (iii) Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP) against the Wind-Down Debtors, except

insofar as such documents are subject to legal professional privilege under the applicable laws of

England and Wales or the United States.

       8.      Any documents You have provided voluntarily or produced to Greensill Limited’s

Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK LLP) or their

representatives since July 30, 2021.

       9.      Any agreements between You and Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP).




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         10.    Copies of any affidavits, declarations, questionnaires, or other witness statements

You have executed concerning the Receivables Arrangement, the Contribution Agreement, the

Transfer Agreement, or the Fairymead Notes.

         11.    Any written demands or claims against You arising out of or concerning the

Receivables Arrangement, the Contribution Agreement, the Transfer Agreement, or the Fairymead

Notes.

         12.    Any communications concerning the demands or claims referenced in Request

No. 11, except insofar as such documents are subject to legal professional privilege under the

applicable laws of England and Wales or the United States.

                                            DEFINITIONS

         1.     “Citibank” means Citibank N.A., London Branch, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

         2.     “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

         3.     “Convertible Note” means the Instrument Constituting US$440,000,000.00 of

Unsecured Convertible Loan Notes of Greensill Capital Pty Limited dated November 10, 2020.

         4.     “Credit Suisse Asset Management” means Credit Suisse Asset Management

(Schweiz) AG, and any and all agents, employees, representatives, consultants, attorneys,

predecessors, successors, and/or any person or entity that acts, or purports to act, on its behalf.

         5.     “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.




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        6.      “Documents” means anything in which information of any description is recorded

including without limitation e-mails, paper files, text and any other types of electronic messages

including WhatsApp and other messaging platforms.

        7.      “Fairymead Notes” means the notes backed by the interests assigned to Hoffman

S.à.r.l. under the the Master Assignment Agreement pursuant to a First Series Supplement, dated

December 18, 2019, to a Master Trust Deed, dated October 13, 2017.

        8.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Greensill Bank” means Greensill Bank AG, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        10.     “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        11.     “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf

        12.     “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.




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        13.     “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        14.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        15.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        16.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        17.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        18.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        19.     “Receivables Arrangement” means the Receivables Purchase Agreement dated

December 9, 2019 among Greensill Limited, Katerra Delaware, and others.

        20.     “SBG” means SoftBank Group Corp., and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        21.     “SBIA” means SoftBank Investment Advisors, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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        22.     “SoftBank Agreements” means, collectively, the Convertible Notes and the

Omnibus Deeds.

        23.     “SoftBank Entities” means SBG, SBIA, Vision Fund II, SVF II Abode, SVF II

Wyatt, and each of their affiliates and subsidiaries, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        24.     “SVF II Abode” means SVF II Abode (Cayman) Ltd., and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        25.     “SVF II Wyatt” means SVF II Wyatt Subco (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        26.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

        27.     “Vision Fund II” means SVF II Holdings (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        28.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

        29.     “You” or “Your” means Alexander David Greensill.




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       30.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                                        SCHEDULE E

     REQUESTS FOR PRODUCTION TO JONATHAN EDWARD MYOTT LANE

       1.     Documents created between August 1, 2020 and March 8, 2021 concerning:

              a.      deliberations about, and evaluation whether to enter into, the Katerra
                      Agreements;

              b.      valuations or other analyses of the consideration Greensill Limited gave and
                      received under the Katerra Agreements;

              c.      evaluations whether entering into the Katerra Agreements would cause, or
                      did cause, Greensill Limited to incur actual or potential liabilities;

              d.      the rationale and reasons for entering into the Katerra Agreements;

              e.      deliberations about, and evaluation whether to enter into, the SoftBank
                      Agreements;

              f.      valuations or other analyses of the consideration each of the Greensill
                      Entities gave and received under the SoftBank Agreements; and

              g.      the rationale and reasons for entering into the SoftBank Agreements.

       2.     Your communications, including personal emails and electronic messages, between

August 1, 2020 and June 6, 2021 with the Wind-Down Debtors or their representatives concerning

the negotiation of the Katerra Agreements and/or the SoftBank Agreements.

       3.     Documents recording Your expectations or understanding on or before December

30, 2020 concerning the intended use of the $440 million that Greensill Parent and/or GCUK

received pursuant to the Convertible Note.

       4.     Your communications between August 1, 2020 and March 8, 2021 with the

Greensill Entities’ directors and management concerning the use of the $440 million received

pursuant to the Convertible Note.




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       5.      Any communications since August 1, 2020 between You and Credit Suisse

Assessment Management or its representatives, Citibank of its representatives, or any holder of

the Fairymead Notes or its representatives concerning the failure to pay the Fairymead Notes.

       6.      Any communications since March 8, 2021 with (i) Greensill Parent’s liquidators

(Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant Thornton

Australia Ltd.) or their representatives, (ii) GCUK’s administrators (Christine M. Laverty, Trevor

P. O’Sullivan, and Will Stagg of Grant Thornton UK LLP) or their representatives, or

(iii) Greensill Limited’s Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK

LLP) or their representatives concerning the Receivables Arrangement, the Contribution

Agreement, the Transfer Agreement, or the Fairymead Notes, including the claims Greensill

Limited’s Liquidators have asserted against the Wind-Down Debtors.

       7.      Any communications since March 8, 2021 about claims by (i) Greensill Parent’s

liquidators (Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant

Thornton Australia Ltd.), (ii) GCUK’s administrators (Christine M. Laverty, Trevor P. O’Sullivan,

and Will Stagg of Grant Thornton UK LLP), or (iii) Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP) against the Wind-Down Debtors, except

insofar as such documents are subject to legal professional privilege under the applicable laws of

England and Wales or the United States.

       8.      Any documents You have provided voluntarily or produced to Greensill Limited’s

Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK LLP) or their

representatives since July 30, 2021.

       9.      Any agreements between You and Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP).




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         10.    Copies of any affidavits, declarations, questionnaires, or other witness statements

You have executed concerning the Receivables Arrangement, the Contribution Agreement, the

Transfer Agreement, or the Fairymead Notes.

         11.    Any written demands or claims against You arising out of or concerning the

Receivables Arrangement, the Contribution Agreement, the Transfer Agreement, or the Fairymead

Notes.

         12.    Any communications concerning the demands or claims referenced in Request

No. 11, except insofar as such documents are subject to legal professional privilege under the

applicable laws of England and Wales or the United States.

                                            DEFINITIONS

         1.     “Citibank” means Citibank N.A., London Branch, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

         2.     “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

         3.     “Convertible Note” means the Instrument Constituting US$440,000,000.00 of

Unsecured Convertible Loan Notes of Greensill Capital Pty Limited dated November 10, 2020.

         4.     “Credit Suisse Asset Management” means Credit Suisse Asset Management

(Schweiz) AG, and any and all agents, employees, representatives, consultants, attorneys,

predecessors, successors, and/or any person or entity that acts, or purports to act, on its behalf.

         5.     “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.




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        6.      “Documents” means anything in which information of any description is recorded

including without limitation e-mails, paper files, text and any other types of electronic messages

including WhatsApp and other messaging platforms.

        7.      “Fairymead Notes” means the notes backed by the interests assigned to Hoffman

S.à.r.l. under the the Master Assignment Agreement pursuant to a First Series Supplement, dated

December 18, 2019, to a Master Trust Deed, dated October 13, 2017.

        8.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Greensill Bank” means Greensill Bank AG, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        10.     “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        11.     “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf

        12.     “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.




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        13.     “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        14.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        15.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        16.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        17.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        18.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        19.     “Receivables Arrangement” means the Receivables Purchase Agreement dated

December 9, 2019 among Greensill Limited, Katerra Delaware, and others.

        20.     “SBG” means SoftBank Group Corp., and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        21.     “SBIA” means SoftBank Investment Advisors, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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        22.     “SoftBank Agreements” means, collectively, the Convertible Notes and the

Omnibus Deeds.

        23.     “SoftBank Entities” means SBG, SBIA, Vision Fund II, SVF II Abode, SVF II

Wyatt, and each of their affiliates and subsidiaries, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        24.     “SVF II Abode” means SVF II Abode (Cayman) Ltd., and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        25.     “SVF II Wyatt” means SVF II Wyatt Subco (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        26.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

        27.     “Vision Fund II” means SVF II Holdings (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        28.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

        29.     “You” or “Your” means Jonathan Edward Myott Lane.




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     Case 21-31861 Document 1601 Filed in TXSB on 01/05/22 Page 45 of 87




       30.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                                        SCHEDULE F

            REQUESTS FOR PRODUCTION TO ALASTAIR KENNETH EADIE

       1.     Documents created between August 1, 2020 and March 8, 2021 concerning:

              a.      deliberations about, and evaluation whether to enter into, the Katerra
                      Agreements;

              b.      valuations or other analyses of the consideration Greensill Limited gave and
                      received under the Katerra Agreements;

              c.      evaluations whether entering into the Katerra Agreements would cause, or
                      did cause, Greensill Limited to incur actual or potential liabilities;

              d.      the rationale and reasons for entering into the Katerra Agreements;

              e.      deliberations about, and evaluation whether to enter into, the SoftBank
                      Agreements;

              f.      valuations or other analyses of the consideration each of the Greensill
                      Entities gave and received under the SoftBank Agreements; and

              g.      the rationale and reasons for entering into the SoftBank Agreements.

       2.     Your communications, including personal emails and electronic messages, between

August 1, 2020 and June 6, 2021 with the Wind-Down Debtors or their representatives concerning

the negotiation of the Katerra Agreements and/or the SoftBank Agreements.

       3.     Documents recording Your expectations or understanding on or before December

30, 2020 concerning the intended use of the $440 million that Greensill Parent and/or GCUK

received pursuant to the Convertible Note.

       4.     Your communications between August 1, 2020 and March 8, 2021 with the

Greensill Entities’ directors and management concerning the use of the $440 million received

pursuant to the Convertible Note.




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       5.      Any communications since August 1, 2020 between You and Credit Suisse

Assessment Management or its representatives, Citibank of its representatives, or any holder of

the Fairymead Notes or its representatives concerning the failure to pay the Fairymead Notes.

       6.      Any communications since March 8, 2021 with (i) Greensill Parent’s liquidators

(Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant Thornton

Australia Ltd.) or their representatives, (ii) GCUK’s administrators (Christine M. Laverty, Trevor

P. O’Sullivan, and Will Stagg of Grant Thornton UK LLP) or their representatives, or

(iii) Greensill Limited’s Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK

LLP) or their representatives concerning the Receivables Arrangement, the Contribution

Agreement, the Transfer Agreement, or the Fairymead Notes, including the claims Greensill

Limited’s Liquidators have asserted against the Wind-Down Debtors.

       7.      Any communications since March 8, 2021 about claims by (i) Greensill Parent’s

liquidators (Matthew J. Byrnes, Philip Campbell-Wilson, and Michael G. McCann of Grant

Thornton Australia Ltd.), (ii) GCUK’s administrators (Christine M. Laverty, Trevor P. O’Sullivan,

and Will Stagg of Grant Thornton UK LLP), or (iii) Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP) against the Wind-Down Debtors, except

insofar as such documents are subject to legal professional privilege under the applicable laws of

England and Wales or the United States.

       8.      Any documents You have provided voluntarily or produced to Greensill Limited’s

Liquidators (Andrew Charters and Sarah O’Toole of Grant Thornton UK LLP) or their

representatives since July 30, 2021.

       9.      Any agreements between You and Greensill Limited’s Liquidators (Andrew

Charters and Sarah O’Toole of Grant Thornton UK LLP).




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         10.    Copies of any affidavits, declarations, questionnaires, or other witness statements

You have executed concerning the Receivables Arrangement, the Contribution Agreement, the

Transfer Agreement, or the Fairymead Notes.

         11.    Any written demands or claims against You arising out of or concerning the

Receivables Arrangement, the Contribution Agreement, the Transfer Agreement, or the Fairymead

Notes.

         12.    Any communications concerning the demands or claims referenced in Request

No. 11, except insofar as such documents are subject to legal professional privilege under the

applicable laws of England and Wales or the United States.

                                            DEFINITIONS

         1.     “Citibank” means Citibank N.A., London Branch, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

         2.     “Contribution Agreement” means the Contribution and Exchange Agreement dated

December 30, 2020 among Greensill Limited, Katerra Cayman, and Katerra Delaware.

         3.     “Convertible Note” means the Instrument Constituting US$440,000,000.00 of

Unsecured Convertible Loan Notes of Greensill Capital Pty Limited dated November 10, 2020.

         4.     “Credit Suisse Asset Management” means Credit Suisse Asset Management

(Schweiz) AG, and any and all agents, employees, representatives, consultants, attorneys,

predecessors, successors, and/or any person or entity that acts, or purports to act, on its behalf.

         5.     “December 2020 Omnibus Deed” shall mean the Amendment Deed dated

December 23, 2020, among Greensill Parent, GCUK, SoftBank Group Corporation, and others.




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        6.      “Documents” means anything in which information of any description is recorded

including without limitation e-mails, paper files, text and any other types of electronic messages

including WhatsApp and other messaging platforms.

        7.      “Fairymead Notes” means the notes backed by the interests assigned to Hoffman

S.à.r.l. under the the Master Assignment Agreement pursuant to a First Series Supplement, dated

December 18, 2019, to a Master Trust Deed, dated October 13, 2017.

        8.      “GCUK” means Greensill Capital (UK) Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        9.      “Greensill Bank” means Greensill Bank AG, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        10.     “Greensill Entities” means Greensill Parent, GCUK, and each of their affiliates and

subsidiaries, including but not limited to Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        11.     “Greensill Limited” means Greensill Limited, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf

        12.     “Greensill Parent” means Greensill Capital Pty Limited, and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.




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        13.     “Katerra Agreements” means, collectively, the Contribution Agreement and the

Transfer Agreement.

        14.     “Katerra Cayman” means Katerra Inc., an exempted company incorporated with

limited liability in the Cayman Islands, and any and all agents, employees, representatives,

consultants, attorneys, predecessors, successors, and/or any person or entity that acts, or purports

to act, on its behalf.

        15.     “Katerra Delaware” means Katerra Inc., a Delaware corporation, and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        16.     “Liquidators” means Greensill Limited’s joint liquidators, Andrew Charters and

Sarah O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG.

        17.     “November 2020 Omnibus Deed” shall mean the Omnibus Deed dated November

10, 2020 among Greensill Parent, GCUK, SoftBank Group Corporation, and others.

        18.     “Omnibus Deeds” shall mean, collectively, the November 2020 Omnibus Deed and

the December 2020 Omnibus Deed.

        19.     “Receivables Arrangement” means the Receivables Purchase Agreement dated

December 9, 2019 among Greensill Limited, Katerra Delaware, and others.

        20.     “SBG” means SoftBank Group Corp., and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.

        21.     “SBIA” means SoftBank Investment Advisors, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on its behalf.




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        22.     “SoftBank Agreements” means, collectively, the Convertible Notes and the

Omnibus Deeds.

        23.     “SoftBank Entities” means SBG, SBIA, Vision Fund II, SVF II Abode, SVF II

Wyatt, and each of their affiliates and subsidiaries, and any and all agents, employees,

representatives, consultants, attorneys, predecessors, successors, and/or any person or entity that

acts, or purports to act, on each one’s behalf.

        24.     “SVF II Abode” means SVF II Abode (Cayman) Ltd., and any and all agents,

employees, representatives, consultants, attorneys, predecessors, successors, and/or any person or

entity that acts, or purports to act, on its behalf.

        25.     “SVF II Wyatt” means SVF II Wyatt Subco (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        26.     “Transfer Agreement” means the Transfer Agreement dated December 30, 2020

between Greensill Limited and SVF II Abode (Cayman) Limited.

        27.     “Vision Fund II” means SVF II Holdings (Singapore) Pte. Ltd., and any and all

agents, employees, representatives, consultants, attorneys, predecessors, successors, and/or any

person or entity that acts, or purports to act, on its behalf.

        28.     “Wind-Down Debtors” means Katerra Cayman and its affiliated debtors in the case

captioned In re Katerra Inc., Case No. 21-31861 (U.S. Bankruptcy Court for the Southern District

of Texas), and any and all agents, employees, representatives, consultants, attorneys, predecessors,

successors, and/or any person or entity that acts, or purports to act, on their behalf.

        29.     “You” or “Your” means Alastair Kenneth Eadie.




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       30.     The present tense includes the past and future tenses. The singular includes the

plural, and the plural includes the singular. “All” means “any and all.” “Any” means “any and

all.” “Including” means “including but not limited to.” “And” and “or” encompasses both “and”

and “or.” Words in the masculine, feminine, or neutral shall include each of the other genders.




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                         Exhibit 2
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                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                              UNITED STATES BANKRUPTCY COURT                                       December 03, 2021
                                SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    KATERRA INC., et al., 1                                       )   Case No. 21-31861 (DRJ)
                                                                  )
                            Wind-Down Debtors.                    )   (Jointly Administered)
                                                                  )   (Emergency Hearing Requested)

                                   ORDER DIRECTING
        ISSUANCE OF LETTER OF REQUEST UNDER THE HAGUE CONVENTION
                                       'RFNHW1R
          Upon the motion (the “Motion”) 2 of Daniel R. Williams of JS Held, LLC (the “Plan

Administrator”), the Plan Administrator for the above-captioned debtors and debtors in possession

(collectively, the “Wind-Down Debtors”) for entry of an order (this “Order”) directing the issuance

of a Letter of Request under the Hague Convention; and this Court having found that venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief

requested in the Motion is in the best interests of the Wind-Down Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Plan Administrator’s notice of

the Motion and opportunity for a hearing on the Motion were appropriate under the circumstances

and no other notice need be provided; and this Court having determined that just cause for the

relief granted herein exists; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:




1
      A complete list of each of the Wind-Down Debtors in these chapter 11 cases may be obtained on the website of
      the Wind-Down Debtors’ claims and noticing agent at https://cases.primeclerk.com/katerra. The Wind-Down
      Debtors’ service address in these chapter 11 cases is 3101 N. Central Ave., Ste. 670, Phoenix, AZ 85012.
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      Capitalized terms used but not defined herein have the meanings given to them in the Motion.
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       1.      The Wind-Down Debtors’ proposed Letter of Request pursuant to the Hague

Convention is certified and issued to the designated Central Authority for England & Wales, and

the Court will execute the Wind-Down Debtors’ proposed Letter of Request.

       2.      The Clerk of this Court shall (a) apply the seal of the Court to the Letter of Request,

and (b) file a copy of the Letter of Request in the docket of the above-captioned matter.

       3.      The Wind-Down Debtors shall initiate the necessary proceedings in the United

Kingdom to effectuate the Letter of Request.

       4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       5.      The Wind-Down Debtors are authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Motion.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


      Signed: December 03, 2021.
 Dated: _____________________, 2021
                                                     ____________________________________
                                                         The Honorable David R. Jones
                                                     DAVID R. JONES
                                                        Chief United States Bankruptcy Judge
                                                     UNITED STATES BANKRUPTCY JUDGE




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                         Exhibit 3
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                         Exhibit 4
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77"364>9-980>7H

9 %

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9 1



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 
              Case   21-31861 Document 1601 Filed in TXSB on 01/05/22 Page 78 of 87
                      




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           Case   21-31861 Document 1601 Filed in TXSB on 01/05/22 Page 79 of 87
                   


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